Case 0:08-cv-60357-DTKH Document 5 Entered on FLSD Docket 04/07/2008 Page 1 of 2

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

SUSAN M. JORDAN,

Plaintiff,
Vv. Case No.: 08-60357

NCO FINANCIAL SYSTEMS, INC.

Defendant.
/

 

NOTICE OF PENDING SETTLEMENT

Defendant, NCO Financial Systems, Inc. (“Defendant” or “NCO”), by and through
its undersigned counsel, hereby submits this Notice of Pending Settlement and states that
the parties have reached a settlement with regard to this case inclusive of attorney’s fees
and costs and are presently working on the final settlement and dismissal documents.
Upon execution of the same, the parties will execute and file a joint stipulation for
dismissal with prejudice.

Submitted this 7th day of April 2008.

Respectfully Submitted,

/S/ Kenneth C. Grace -658464

Kenneth C. Grace, Esq.

Florida Bar No.: 0658464

Elizabeth Fite Blanco, Esq.

Florida Bar No.: 0644439

Dayle M. Van Hoose, Esq.

Florida Bar No.: 016277

SESSIONS, FISHMAN, NATHAN & ISRAEL, L.L.P.
9009 Corporate Lake Drive, Suite 300-S
Tampa, Florida 33634

Telephone No.: (813) 890-2465
Facsimile No.: (813) 889-9757
Case 0:08-cv-60357-DTKH Document5 Entered on FLSD Docket 04/07/2008 Page 2 of 2

kgrace@sessions-law.biz
eblanco@sessions-law.biz
dvanhoose@sessions-law.biz
Counsel for NCO

CERTIFICATE OF SERVICE

I hereby certify that on this 7th day of April, 2008, a true and correct copy of the
foregoing Notice was filed electronically in the ECF system. Notice of this filing will be
sent to the parties of record by operation of the Court’s electronic filing system, including
plaintiff's counsel as described below. Parties may access this filing through the Court’s
system.

Donald A. Yarbrough, Esq.
2000 E. Oakland Park Blvd., Suite 105
Fort Lauderdale, FL 33339

/S/ Kenneth C. Grace - 658464
Attorney

N:\NCOVordan, Susan M. (6947-08-22698) SETTLED 4-3-08\Pleadings\Notice of Pending Settlement.doc
